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		OSCN Found Document:ORDER RE SECRETARY-BAILIFF JOB DESCRIPTION

					

				
  



				
					
					
						
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				ORDER RE SECRETARY-BAILIFF JOB DESCRIPTION2020 OK 66Decided: 08/13/2020THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 66, __ P.3d __

				

ORDER
Pursuant to the administrative authority vested in the Chief Justice by Article 7, Section 6 of the Oklahoma Constitution; Rule 2, Paragraph D of the Rules on Administration of Courts, Title 20, Chapter 1, Appendix 2; and Title 20, Section 125, the attached job description for the position of District Court Secretary-Bailiff is hereby approved for use by the District Courts and the Administrative Office of the Courts.
DONE BY ORDER OF THE SUPREME COURT THIS 13th DAY OF AUGUST, 2020.
/S/CHIEF JUSTICE




Secretary-Bailiff -- District Court
Position Description: The Secretary-Bailiff is an officer of the court whose duties include assisting and serving as an administrative assistant to one or more assigned District Court judges, performing office-management duties, assisting with court proceedings, and preparing and monitoring the judge's docket/calendar. The Secretary-Bailiff is an at-will position, generally hired by and reporting to a judge of the District Court, but may also be assigned to assist other judges or other courtrooms. Salary is governed by statute and salary schedule, and pay increases are not tied to length of service.
Responsibilities and Essential Functions. Specific duties and procedures are determined by the supervising judge, and may vary widely between courts. The items listed here are representative. Responsibilities may include the following:


Serves as an administrative assistant to the judge; performs office management for the judge's chambers; identifies and addresses needs and performs administrative tasks to ensure the judge's workflow runs smoothly.
Screens and refers callers and visitors; manages and monitors calendaring for the judge; maintains correspondence received and sent; prepares reports, correspondence, and court documents as directed by judge; relays complex and important instructions and messages.
Communicates with attorneys, court reporters, and clerk's office to coordinate proceedings and jury trial requirements; assists with maintenance of petit and grand jury records; assists with managing juries during trial; arranges for accommodations of sequestered jurors.
Manages courtroom for proceedings; inspects courtroom for cleanliness, orderliness and proper set up; assists with maintaining the order, decorum and dignity of the court; opens court by announcing the entrance of the judge; assists judge during proceedings; maintains confidentiality of information obtained in the courtroom, where applicable.
Performs a variety of other tasks as assigned.
Knowledge, Skill and Ability Requirements:


Strong interpersonal skills required. Ability to establish and maintain professional and effective working relationships with judges, court clerks, staff, attorneys and the general public. Ability to assist judge during proceedings and maintain order and decorum in the courtroom.
Excellent oral and written communication skills, including proper grammar, spelling, punctuation and arithmetic. Ability to compose correspondence, relay complex information, and perform office management details.
Knowledge of administrative and office procedures. Strong computer skills and ability to use standard office equipment.
Ability to make moderately complex decisions in accordance with established policies and procedures. Ability to maintain administrative, fiscal, and general records and to prepare reports and answer questions from records.
Excellent organizational skills with an ability to work independently and schedule time to meet deadlines.
Education and Experience Requirements:


Graduation from High School or the equivalent GED certificate. Legal assistant, paralegal, or law school course work or training is beneficial.


2+ years' experience performing administrative duties in a professional environment (or equivalent combination of training and experience); Prior employment in a law office or court setting is beneficial.
Experience with Microsoft Office applications (MS Word, Outlook, Excel, etc.); Proficient with Outlook scheduling.
Experience operating various types of office equipment; Additional experience setting up and operating audio/visual equipment and videoconferencing (Skype, Teams, Bluejeans, etc.) is beneficial.
Bilingual (Spanish) language skills and ability to obtain credential as Registered or Certified Courtroom Interpreter is beneficial.
Working Conditions and Physical Demands: Duties are performed in an office /courtroom setting, in an often fast paced and stressful work environment. Regular interaction with members of the public is required. Requirements include ability to sit, operate computer and office equipment, move about courtroom and office area; ability to see, hear, speak and communicate with individuals and groups; ability to interact with court patrons, including emotional and/or hostile situations that arise when dealing with individuals involved in court cases; ability to comprehend and follow oral and written instructions; ability to remain calm and in control in varied court situations, including exposure to disturbing testimony or exhibits. May require standing for extended periods of time.
FLSA Classification -- NON-EXEMPT: The Secretary-Bailiff is a non-exempt position. However, it is the policy of the Supreme Court that overtime is not permitted, and non-exempt personnel shall NOT work in excess of forty (40) hours in a single workweek, unless specifically authorized.


Workweek Adjustment is Preferred: The supervising judge shall adjust the employee's work schedule, during the same work week, to provide the employee time off equal to any extra hours worked, so the total does not exceed 40 hours worked.
Compensatory Time: If workweek adjustment is not possible, compensation for hours worked in excess of 40 shall be comp time in lieu of cash overtime at the rate of one and one-half hours of comp time for each hour of overtime worked.
Eligibility: Eligibility to work in the United States is required. The employer will not sponsor a work visa (H-1B, etc.) to fill this position.
Personal or professional conduct, conflict of interest, or criminal conviction that may negatively impact the employee's ability to perform his/her duties, which may create an appearance of impropriety, or which may negatively impact the mission, dignity and decorum of the Court, may be grounds for disqualification.
The District Court is an Equal Opportunity Employer.




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